                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                              Plaintiff,    )
                                            )
               v.                           )       No.07-00115-02-CR-W-NKL
                                            )
JOSE ESTRADA,                               )
                                            )
                              Defendant.    )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge Sarah W.

Hays, to which no objection has been filed, the plea of guilty to Counts 1, 5, 6, 9 and 18 of the

Indictment is now accepted. Defendant is adjudged guilty of such offenses. Sentencing will be set

by subsequent order of the court.


                                                     s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Kansas City, Missouri
March 25, 2008




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